      Case 3:12-cv-00790-HTW-LGI Document 133 Filed 07/01/24 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  (Northern Division)


UNITED STATES OF AMERICA,         )
                                  )
and the STATE OF MISSISSIPPI,     )
                                  )
                  Plaintiffs,     )
                                  )                  Case No. 3:12-cv-790-HTW-LGI
                                  )                  (Clean Water Act Case)
          v.                      )
                                  )
                                  )
THE CITY OF JACKSON, MISSISSIPPI, )
                                  )
                  Defendant.      )
                                  )
UNITED STATES OF AMERICA,         )
                                  )
                  Plaintiff,      )
                                  )                  Case No. 3:22-cv-00686-HTW-LGI
                                  )                  (Safe Drinking Water Act Case)
          v.                      )
                                  )                  UNITED STATES’ NOTICE OF
                                  )                  COMPLIANCE WITH SNAP ORDER
                                  )                  (Clean Water Act Case and
THE CITY OF JACKSON, MISSISSIPPI, )                  Safe Drinking Water Act Case)
                                  )
                  Defendant.      )
                                  )



       Plaintiff the United States of America hereby gives notice that on July 1, 2024, it

submitted the attached letter (Exhibit 1) to Interim Third-Party Manager Ted Henifin, in

compliance with the Court’s April 16, 2024, Order regarding Supplemental Nutrition Assistance

Program (“SNAP”) information [Dkt. No. 107].


                                     Respectfully submitted,
      Case 3:12-cv-00790-HTW-LGI Document 133 Filed 07/01/24 Page 2 of 2




                              TODD KIM
                              Assistant Attorney General
                              Environment and Natural Resources Division
                              U.S. Department of Justice

Dated: July 1, 2024           /s/ Angela Mo
                              ANGELA MO (CA Bar No. 262113)
                              KARL FINGERHOOD (PA Bar No. 63260)
                              Senior Counsel
                              Environmental Enforcement Section
                              Environment and Natural Resources Division
                              U.S. Department of Justice
                              P.O. Box 7611
                              Washington, D.C. 20044-7611
                              Tel: (202) 514-7519
                              Fax: (202) 616-2427
                              Email: Karl.Fingerhood@usdoj.gov
                                      Angela.Mo@usdoj.gov

                              TODD GEE
                              United States Attorney for the
                              Southern District of Mississippi

                              ANGELA GIVENS WILLIAMS (MS Bar No. 102469)
                              Chief, Civil Division
                              MITZI DEASE PAIGE (MS Bar No. 6014)
                              Assistant United States Attorney
                              United States Attorney’s Office
                              501 East Court Street, Suite 4.430
                              Jackson, Mississippi 39201
                              Tel: (601) 965-4480
                               Email: AWilliams4@usa.doj.gov
                                      mitzi.paige@usdoj.gov

                              Counsel for Plaintiff the United States of America




                                        2
